                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION

 Sandra Ritchie,                                )   Civil Action No. 2:23-cv-1093
                                                )
                   Plaintiff,                   )
                                                )
                vs.                             )
                                                )         NOTICE OF REMOVAL
 Route 41 Pizza, LLC,                           )
                                                )
                   Defendant.                   )
                                                )


TO:    UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF WISCONSIN

       PLEASE TAKE NOTICE that Route 41 Pizza, LLC (“Defendant”), by and through its

undersigned counsel, removes this action from the Fond du Lac County Circuit Court to the United

States District Court for the Eastern District of Wisconsin, Milwaukee Division.

                                I.      NATURE OF ACTION

      1.       On July 24, 2023, Plaintiff Sandra Ritchie (“Plaintiff”) filed a Class Action

Complaint (“Complaint”) in the Fond du Lac County Circuit Court, Civil Action No. 2023-CV-

000298, against Defendant for alleged unpaid overtime under Wis. Stat. Chapters 103 and 109 and

Wis. Admin. Code Ch. DWD 274 on behalf of herself and a putative class.

                         II.    NOTICE OF REMOVAL IS TIMELY

      2.       According to the Affidavit of Service filed in the State Court proceedings,

Defendant’s registered agent was served with a copy of the Complaint via process server on July

28, 2023.

      3.       This Notice of Removal is timely as it was filed within thirty (30) days of service

of process on Defendant. See 28 U.S.C. § 1446(b) (“The notice of removal of a civil action or



                                          1
            Case 2:23-cv-01093-SCD Filed 08/17/23 Page 1 of 5 Document 1
proceeding shall be filed within thirty (30) days after the receipt by the defendant, through service

or otherwise, of a copy of the initial pleading setting forth the claim for relief upon which such

action or proceeding is based . . . .”).

                           III.    FEDERAL JURISDICTION EXISTS

       4.        Pursuant to 28 U.S.C. § 1441(a), cases that are subject to removal include “any civil

action brought in a state court of which the District Courts of the United States have original

jurisdiction.”

       5.        The District Court has diversity jurisdiction under 28 U.S.C. § 1332(a) because this

is a civil action between citizens of different states and the amount in controversy exceeds the sum

of $75,000, exclusive of interest and costs.

       6.        Plaintiff is a citizen and resident of Fond du Lac County, Wisconsin. (Compl. ¶ 6).

       7.        Defendant is a limited liability company (“LLC”). For purposes of diversity

jurisdiction, the citizenship of an LLC is determined by the citizenship of its members. See

Cosgrove v. Bartolotta, 150 F.3d 729, 731 (7th Cir. 1998).

       8.        The members of Route 41 Pizza, LLC are (1) Susan Graves; and (2) Susan L.

Graves 2020 Irrevocable Stock Trust.

       9.        Susan Graves is a citizen and resident of Texas.

      10.        A trust’s citizenship is determined by that of its trustee.       See White Pearl

Inversiones S.A. v. Cemusa, Inc., 647 F.3d 684, 686 (7th Cir. 2011). The trustee of the Susan L.

Graves 2020 Irrevocable Stock Trust is Claudia Lenz, who is a citizen and resident of Minnesota.

      11.        Therefore, complete diversity exists in this matter.

      12.        In the Complaint, Plaintiff seeks alleged unpaid overtime for two years, civil

penalties (up to 50% of the alleged unpaid wages), costs, disbursement, expert witness fees,




                                          2
            Case 2:23-cv-01093-SCD Filed 08/17/23 Page 2 of 5 Document 1
prejudgment and post judgment interest, and attorneys’ fees on behalf of herself and a putative

class. (Compl. Request for Relief). Therefore, the amount in controversy exceeds $75,000.

                      IV.   REMOVAL TO THIS DISTRICT IS PROPER

      13.      Venue is proper in the United States District Court for the Eastern District of

Wisconsin, because the Fond du Lac Circuit Court sits within this federal district. See 28 U.S.C.

§§ 1391(a), 1446(a).

                            V.     REMOVAL REQUIREMENTS

      14.      Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings and orders served

to date upon Defendant in this matter are attached as Exhibit A.

      15.      This Notice of Removal will promptly be served on Plaintiff and notice of its filing

will be promptly filed with the Clerk of Court for the Fond du Lac Circuit Court pursuant to 28

U.S.C. § 1446(d).

                             VI.    RESERVATION OF RIGHTS

      16.      Defendant reserves any and all rights to assert any defenses to Plaintiff’s

Complaint, including the right to file dispositive motions pursuant to Rule 12 of the Federal Rules

of Civil Procedure.

      17.      Defendant reserves the right to amend or supplement this Notice of Removal.


                                             Respectfully submitted,


                                             By:     /s/ Craig R. Annunziata
                                                     Attorney for Defendant




                                          3
            Case 2:23-cv-01093-SCD Filed 08/17/23 Page 3 of 5 Document 1
Craig R. Annunziata
FISHER & PHILLIPS LLP
10 S. Wacker Drive, Suite 3450
Chicago, IL 60606
(t) (312) 346-8061
(f) (312) 346-3179
Email: cannunziata@fisherphillips.com

August 17, 2023




                                       4
         Case 2:23-cv-01093-SCD Filed 08/17/23 Page 4 of 5 Document 1
                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on August 17, 2023, he caused the foregoing to be

electronically filed with the Clerk of the U.S. District Court, using the Court’s CM/ECF system,

and was served via email upon the attorneys of record:

       Summer H. Murshid, State Bar No. 1075404
       Timothy P. Maynard, State Bar No. 1080953
       Larry A. Johnson, State Bar No. 1056619
       Connor J. Clegg, State Bar No. 1118534
       HAWKS QUINDEL, S.C.
       5150 North Port Washington Road, Suite 243
       Milwaukee, WI 53217
       Telephone: (414) 271-8650
       Fax: (414) 207-6079
       E-mail: smurshid@hq-law.com
       tmaynard@hq-law.com
       ljohnson@hq-law.com
       cclegg@hq-law.com

       Attorneys for Plaintiff



                                                   By:     /s/ Craig R. Annunziata
                                                           Attorney for Defendant


Craig R. Annunziata
FISHER & PHILLIPS LLP
10 S. Wacker Drive, Suite 3450
Chicago, IL 60606
(t) (312) 346-8061
(f) (312) 346-3179
Email: cannunziata@fisherphillips.com




                                        5
          Case 2:23-cv-01093-SCD Filed 08/17/23 Page 5 of 5 Document 1
